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                 IN THE UNITED STATES DISTRICT COURT FOR
                     THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

UNITED STATES OF AMERICA                   )
                                           )
v.                                         )          CASE NO. 2:05-cr-119-MEF
                                           )
DON EUGENE SIEGELMAN, et al.               )

                                    ORDER

      In light of the verdicts in favor of defendants Gary Mack Roberts and Paul

Michael Hamrick, it is hereby

      ORDERED that all pending motions filed by either Gary Mack Roberts or

Hamrick, whether made orally or in writing, are DENIED as MOOT.

      DONE this 3rd day of November, 2006.




                                                /s/ Mark E. Fuller
                                        CHIEF UNITED STATES DISTRICT JUDGE
